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                            IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

AMYRIS, INC., et al.,                                                 Case No. 23-11131 (TMH]

                                   Debtors. 1                         (Jointly Administered)

                                                                      Re Docket Nos. 892, 1112, 1193

    NOTICE OF FILING SECOND AMENDED PLAN SUPPLEMENT FOR THE THIRD
         AMENDED JOINT CHAPTER 11 PLAN OF REORGANIZATION OF
                 AMYRIS, INC. AND ITS AFFILIATED DEBTORS

        PLEASE TAKE NOTICE that on December 12, 2023, the Debtors filed the Second
Amended Joint Plan of Reorganization of Amyris, Inc. and Its Affiliated Debtors, as Modified
[Docket No. 892] (the “Plan”) and the Disclosure Statement With Respect to Second Amended
Joint Plan of Reorganization of Amyris, Inc. and Its Affiliated Debtors, as Modified [Docket No.
893] (the “Disclosure Statement”) in the United States Bankruptcy Court for the District of
Delaware (the “Court”).2 The Court entered an Order [Docket No. 897] (the “Disclosure
Statement Order”), approving the Disclosure Statement as containing adequate information
within the meaning of section 1125 of Bankruptcy Code.

        PLEASE TAKE FURTHER NOTICE that, as contemplated by the Plan and the
Disclosure Statement Order, on January 9, 2024, the Debtors filed the Notice of Filing Plan
Supplement for the Second Amended Joint Plan of Reorganization of Amyris, Inc. and Its
Affiliated Debtors, as Modified [Docket No. 1112], and on January 22, 2024, the Debtors filed
the Notice of Filing First Amended Plan Supplement for the Second Amended Joint Plan of
Reorganization of Amyris, Inc. and Its Affiliated Debtors, As Modified [Docket No.
1193](collectively, the “Plan Supplement”).

       PLEASE TAKE FURTHER NOTICE that the Debtors hereby amend the Plan
Supplement by filing drafts of the following documents (which are subject to continued
negotiation between interested parties and the Debtors), as may be amended, supplemented, or
modified from time to time through the Effective Date:3



1
     A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
     Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
     principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street,
     Suite 100, Emeryville, CA 94608.
2
     Any capitalized terms not defined herein shall have the meanings ascribed to them in the Plan and/or
     Disclosure Statement.
3
     Documents that amend previously-filed Exhibits are accompanied by redlined versions showing changes from
     versions filed with the original Plan Supplement.
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         Exhibit       Description
            C.         Identification of Designated Preference Actions
            D.         Identification of Specified Preference Actions
            I.         Exit First Lien Facility Documents4
            Q.         Schedule of Retained Causes of Action


        PLEASE TAKE FURTHER NOTICE that the documents, or portions thereof,
contained in the Plan Supplement are not final and remain subject to ongoing review by the
Debtors and interested parties. The Debtors reserve the right, subject to the terms and conditions
set forth in the Plan, to alter, amend, modify, or supplement the Plan Supplement, and any of the
documents and designations contained therein, at any time before the Effective Date of the Plan,
or any such other date as may be provided for by the Plan or by order of the Court. If any
document in this Plan Supplement is altered, amended, modified, or supplemented in any
material respect prior to the date of the Confirmation Hearing, the Debtors will file a blackline of
such document with the Court.

        PLEASE TAKE FURTHER NOTICE that the Plan, the Disclosure Statement, the Plan
Supplement, as well as further information regarding these Chapter 11 Cases are available for
inspection on the Court’s website at https://www.deb.uscourts.gov, or free of charge on the
Debtors’ restructuring website at https://cases.stretto.com/amyris/.

Dated:       January 23, 2024                              PACHULSKI STANG ZIEHL & JONES LLP

                                                             /s/ James E. O'Neill
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                                                           Debra I. Grassgreen (admitted pro hac vice)
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                                                           Counsel to the Debtors and Debtors in Possession



4
    This Exhibit contains a new form of agreement from that previously filed.
